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DISTRICT OF NEVADA - LAS VEGAS

ANDREA I)ERKS FAGAN * "" cleL Ac'rIoN
AND GEORGE l). FAGAN *
*
vERsUs * No. 2=13@_01143.RFB.cwH
LAWRENCE NATHAN *
AssocIA'rEs, 1Nc. *
*

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ORDER

 

Considering the Ex Par:e Motion submitted by Andrea Derks Fagan and George D.
_Fagan, Plaintiffs, appearing herein pro se, for leave of Court to appear and participate by
telephone in the hearing set at 10:00 a.m. on Thursclay, February 4, 2016, in accordance with the
Court’s January 7, 2016 Order (Doc. 32);

IT IS ORDERED THAT Andrea Derks Fagan and George D. Fagan, Plaintiffs,
appearing herein pro se, be and hereby are granted leave of Court to appear and participate by
telephone in the hearing s`ej'a`t 10:00 a.rn. on Thursday, February 4, 2016.

Signed on this 311 '_day of`January, 2016, in Las Vegas, Nevada.

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Pleintiffs Andrea Derks Fagan and George D. Fagan are instructed to call telephone_number. (868) 808-
6929, access code: 8129639#. 5 minutes prior to the hearing time. The Court will join the all and
convene the proceedings The call must be made on a land line. The use of a cell phone cr speaker

phone during the proceedings is prohibited

